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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In re: Tuesday Morning Corporation Case No. 20-31476
NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE. Transferee hereby gives evidence and notice

pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 

 

Bradford Capital Holdings, LP Lipper International

Name of Transferee Name of Transferor

Name and address where transferee payments Scheduled Claim Number: 482009020
should be sent: Scheduled Claim Amount: $37,095.00
c/o Bradford Capital Management, LLC Proof of Claim Numbers: 10008

PO Box 4353 Proof of Claim Amount: $37,095.00

Clifton, NJ 07012

Attn: Brian Brager

Phone: 862-249-1349

Email: bbrager@bradfordcapitalmgemt.com

 

 

 

 

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

By: /s/ Brian Brager Date: 10/15/2020

Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
§§ 152 & 3571

 
 

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EVIDENCE OF TRANSFER OF CLAIM

TO: United States Bankruptcy Court
Northern District of Texas
Attention: Clerk

AND TO: Tuesday Morning Corporation (“Debtor”)
Case No, 20-31476

Proof of Claim # 10008
Schedule #: 482009020

LIPPER INTERNATIONAL, its successors and assigns (“Assignor’), for good and valuable consideration the receipt

and sufficiency of which is hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer and
assign unto:

Bradford Capital Holdings, LP
Attention: Brian L. Brager

PO Box 4353

Clifton, NJ 07012

its successors and assigns (“Assignee”), all rights, title and interest, claims and causes of action in and to, or arising
under or in connection with, its claim (as such term is defined in Section 101(5) of the U.S. bankruptcy Code), in
and to the claim of Assignor, including all rights of stoppage in transit, reptevin and reclamation, (the “Claim”)

against the Debtor in the Bankruptcy Court, or any other court with jurisdiction over the bankruptcy proceedings
of the Debtor.

Assignor hereby waives any objection to the transfer of the Claim to Assignee on the books and records of the
Debtor and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or right to a
hearing as may be imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedures, the Bankruptcy Code,
applicable local bankruptcy rules or applicable law, Assignor acknowledges, understands and agrees, and hereby
stipulates that an order of the Bankruptcy Court may be entered without further notice to Assignor transferring to
Assignee the Claim and recognizing the Assignee as the sole owner and holder of the Claim.

You are hereby directed to make all future payments and distributions, and to give all notices and other
communications, in respect of the Claim to Assignee,

IN WITNESS WHEREOEF, each of the;und rsigned has executed this Evidence of Transfer by its duly authorized
representative dated as of LOS / O20

LIPPER INTERNATIONAL Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

DocuSigned by:

Brian. Drosr
By: 858F5F65980341E...
Name: Brian Brager

Title: Managing Member

 

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